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                                 EXHIBIT 2
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                                                                                                                1          IN D E X                             PAGE NUMBER

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             1                        IN THE UNITED STATES DISTRICT COURT                                       2          E xam in ation by M s. K reiter                    5
                                          MIDDLE DISTRICT OF FLORIDA
             2                                   TAMPA DIVISION
                                        CASE NO.: 8:22-cv-01660-TPB-JSS
             3                                                                                                  3          R e a d Letter                              25 5
                     MUTUAL OF OMAHA
             4       MORTGAGE, INC.,

             5                Plaintiff,                                                                        4          E rra ta S heet                             2 56
             6       vs.

             7       WATERSTONE MORTGAGE                                                                        5          R eporter's C ertificate                      25 7
                     CORPORATION,
             8                                                                                                  6
                           Defendant.
             9       _______________________________/                                                           7
            10                                                                                                  8
            11                                                                                                  9
            12                                                                                                 10
                     DEPOSITION OF:               JEFFREY GENNARELLI, CORPORATE
            13                                    REPRESENTATIVE OF MUTUAL OF OMAHA                            11
                                                  MORTGAGE, INC.
            14                                                                                                 12
                     TAKEN:                       Pursuant to Notice by
            15                                    Counsel for Defendant                                        13
            16       DATE:                        May 25, 2023                                                 14
            17       TIME:                        9:17 a.m. to 4:53 p.m. EST                                   15
            18       LOCATION:                    Hill Ward Henderson                                          16
                                                  101 East Kennedy Boulevard
            19                                    Suite 3700                                                   17
                                                  Tampa, Florida 33602
            20                                                                                                 18
                     REPORTED BY:                 Melanie Keefe, FPR
            21                                    Notary Public                                                19
                                                  State of Florida at Large
            22                                                                                                 20
            23                                                                                                 21
            24                                                                                                 22
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                             REGENCY REPORTING SERVICE, INC. (813)224-0224                                     24
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                                                                                                                            REGENCY REPORTING SERVICE, INC. (813)224-0224
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 1        A. Okay.                                                        1          Q. Sorry. Go ahead.
 2        Q. For now, I want to just focus on Bucket No. 1,               2          A. What I have seen were our customers sent to
 3   the bucket that is associated with lost revenue and profits          3   Waterstone to the head underwriter at Waterstone asking if
 4   from loans that were improperly diverted, so the first               4   these loans would work by -- by Mutual of Omaha Mortgage
 5   bucket --                                                            5   employees. I have seen that. So I know that there was
 6        A. Yes.                                                         6   some. Do I know the extent of it? I haven't seen that.
 7        Q. So my understanding is that the contention is                7   And I didn't think I was going to -- I didn't think I was
 8   there were loans that should've closed at Mutual that did            8   asked to testify to the fact of what Waterstone has.
 9   not and instead closed at Waterstone with respect to that            9          Q. Well, you're here to testify about the damages,
10   first bucket?                                                       10   and I heard you say that you haven't been able to calculate
11        A. Correct.                                                    11   damages because discovery has just started.
12        Q. I don't see in the written responses, as to the             12               MS. WALTER: Object to form.
13   first bucket, any type of number demand. I do see that when         13          Q. Is that accurate?
14   you get to page 27, when you start talking about the second         14          A. In my mind, I have not received enough
15   bucket.                                                             15   information. I haven't seen -- I do know this: Customer
16        A.     Yeah.                                                   16   information was sent to personal e-mails. We don't -- we
17        Q.     So for purposes of this deposition --                   17   haven't -- we haven't looked at any personal e-mails.
18        A.     Sure.                                                   18          Q. Mr. Gennarelli, are you aware that in the fall of
19        Q.     -- now is the time when I get to exhaust and find       19   '22 Waterstone produced in discovery a list of the loans
20   out exactly what damages are sought.                                20   that had been closed at the branches within the first three
21        A. Sure.                                                       21   months? Are you aware of that?
22        Q. With respect to the first bucket, what are the              22               MS. WALTER: Object to form.
23   damages sought?                                                     23               MS. KREITER: What's wrong with the form?
24        A. Well, I think a lot of that has to do with                  24               MS. WALTER: Maria, carry on.
25   discovery we haven't been provided yet. We don't know. We           25               Answer the question.
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 1   haven't looked at Waterstone's books to see what loans have          1               MS. KREITER: What is the objection to the form?
 2   closed. We only -- how do we know -- we know of a couple of          2          Because I'll restate it.
 3   instances of loans that were diverted for sure, but we don't         3               MS. WALTER: I am objecting properly pursuant to
 4   know the totality of the loans that were diverted because we         4          how I'm supposed to object.
 5   don't have access to Waterstone's closed loan report.                5          Q.   Do you understand the question, Mr. Gennarelli?
 6        Q. Mr. Gennarelli, when was the lawsuit filed? It               6          A.   I do.
 7   was filed in July.                                                   7          Q.   Go ahead and answer.
 8        A.     Okay.                                                    8          A.   I was aware of a small list that was provided.
 9        Q.     It's been pending for ten months.                        9   I'm also aware that we have not looked at personal e-mails.
10        A.     Okay.                                                   10   Our customer list was sent numerous times to personal e-mail
11        Q.     Has Mutual served discovery on Waterstone?              11   addresses. We haven't looked at those e-mails and what
12               MS. WALTER: Object to the form.                         12   happened to that data after it was in the personal e-mail.
13               MS. KREITER: The witness is testifying that he          13          Q. When you were preparing to testify on behalf of
14        doesn't believe Mutual has had a chance to explore the         14   the company today as to the loans that have improperly
15        claims. I'm following up on that testimony.                    15   transferred to Waterstone, did you go back and look at the
16        Q. Do you know whether Mutual of Omaha has served              16   list of loans closed at Waterstone that was produced in
17   discovery on Waterstone?                                            17   discovery in the fall?
18               MS. WALTER: Object to the extent it implicates          18          A. Yes. But I didn't think it was an all-inclusive
19        attorney work product.                                         19   list, to be honest with you.
20        Q. Go ahead and answer.                                        20          Q. Did you compare that list to the list of loans in
21        A. I'll say I have not seen a closed loan report               21   the pipeline at Mutual of Omaha?
22   coming from Waterstone. If I have seen that, then we can go         22          A. Well, they wouldn't be in the pipeline.
23   back and backtrack.                                                 23          Q. Did you use that list produced by Waterstone back
24        Q. Are you --                                                  24   in the fall and try to analyze which of those loans closed
25        A. What I have seen, though --                                 25   at Waterstone you believe should've been closed at Mutual?
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  1                MS. WALTER: Object to the extent it implicates               1          out is not a privileged question.
  2           attorney work product. He's here as -- he's --                    2                MS. WALTER: I didn't -- I said it implicates
  3                MS. KREITER: He's --                                         3          attorney work product. I didn't say it was privileged.
  4                MS. WALTER: He's not the attorney.                           4          I'm not instructing him not to answer.
  5                MS. KREITER: He's not here as an individual.                 5          Q. Do you have an understanding --
  6           He's here as a corp rep.                                          6          A. I'm not aware of the subpoenas or not. I don't
  7                MS. WALTER: I did not say individual. I said he              7   know.
  8           is not the attorney in the case.                                  8          Q. So you don't know whether Mutual has made an
  9                MS. KREITER: I'm entitled to ask what documents              9   effort to, for example, subpoena the personal e-mails of any
 10           and what preparation this witness did to testify about           10   of the individuals that you claim are necessary?
 11           damages for which ten months into the case Mutual has            11          A. I am not aware.
 12           not disclosed any number, so that's the line of my               12          Q. When you were preparing to testify for the
 13           questions.                                                       13   deposition, did you have discussions or requests, access to
 14           Q. Do you have a number, Mr. Gennarelli, with                    14   the e-mails that you believe are necessary to calculate
 15    respect to this first bucket, the loans that have                       15   Category 1 damages?
 16    transferred to Waterstone from Mutual of Omaha? Have you                16                MS. WALTER: Object to the extent it implicates
 17    looked at the loans, and do you have a number that you're               17          attorney work product or goes to attorney-client
 18    ready to present at the deposition today with respect to                18          discussions.
 19    Bucket 1?                                                               19          Q. Go ahead.
 20           A. I don't have a number with respect to Bucket 1.               20          A. Repeat the question.
 21           Q. Is Mutual seeking damages with respect to                     21          Q. Sure. I hear you testifying that Mutual is
 22    Bucket 1?                                                               22   unable to calculate damages with respect to Category 1,
 23           A. I believe so.                                                 23   which we've defined as the loans that have closed at
 24           Q. But you're not able to tell me what those damages             24   Waterstone due to some unlawful conduct. And I'm trying to
 25    are?                                                                    25   understand your testimony.
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                                                                    26                                                                          28
  1           A. Not at this moment.                                            1                I've heard you say that calculation hasn't been
  2           Q. Has you or anyone at Mutual made an attempt to                 2   done because you haven't seen personal e-mails, and I've
  3    calculate those damages?                                                 3   heard you testify that you don't know whether there have
  4           A.   I have not.                                                  4   been any subpoenas issued by Mutual in an effort to try to
  5           Q.   Has anybody at Mutual?                                       5   get the e-mails. So now my question is in connection with
  6           A.   Not that I'm aware of.                                       6   preparing for this deposition --
  7           Q.   And your position is that you're waiting to do               7          A. Yes.
  8    more discovery?                                                          8          Q. -- did you make any efforts at that point in time
  9                MS. WALTER: Object to form.                                  9   to seek out the e-mails that you believe are necessary to
 10           A. It is.                                                        10   testify on the topic noticed?
 11           Q. What more discovery do you need to do?                        11                MS. WALTER: Object to form.
 12                MS. WALTER: Object to form.                                 12          A. I didn't -- I did not.
 13           A. Well, I'd like to see the personal e-mails where              13                MS. WALTER: Can we take a ten-minute break?
 14    all of our data was sent to. That's what I'd really like to             14                MS. KREITER: Sure.
 15    know so that I can understand the absolute damage caused by             15                (A recess was taken.)
 16    this unbelievable breach of conduct.                                    16                MS. KREITER: Can you just read back the last
 17           Q. Did Mutual of Omaha Mortgage send subpoenas to                17          question and last answer, please?
 18    any of the individuals who have those e-mails?                          18                (The previous question and answer was read by the
 19                MS. WALTER: Object to the extent it implicates              19   reporter.)
 20           attorney work product.                                           20          Q. (By Ms. Kreiter) So there may be times during
 21                MS. KREITER: Work product --                                21   this deposition when I say "you." You're testifying on
 22                MS. WALTER: Mr. Gennarelli isn't going to be                22   behalf of Mutual. If I say "you" during this deposition,
 23           able to answer how discovery is being conducted in the           23   just understand that I mean Mutual collectively as a
 24           case. That's my job.                                             24   company; correct or understood?
 25                MS. KREITER: The fact that subpoenas have gone              25          A. Yes.
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 1        Q. Would it surprise you if a comparison of the                    1           A. Not for -- not for Bucket 1.
 2   loans that had closed at Waterstone compared to the loans               2           Q. I'm going to go back to my original question.
 3   that were in the pipeline of Mutual had been done and that              3   Bucket 1 talks about lost revenue and profits. I understand
 4   the damages resulting from that analysis was less than                  4   you have a personal view that it should be lost revenue on
 5   $50,000?                                                                5   behalf of Mutual today at the deposition on this topic.
 6              MS. WALTER: Object to form.                                  6   Which is it, revenue or profits?
 7        A. In the three-month period, is that what you're                  7                MS. WALTER: Object to form.
 8   referencing, that --                                                    8           A. I'm happy to talk to either one if you'd like.
 9        Q. In that interim period of time.                                 9   So, you know, again, it's -- generally, it's -- it would be
10        A. Yes, then it would surprise me and --                          10   gross profits, not net profits, you know, on cost of goods
11        Q. What do you think the lost profits are? Are you                11   sold.
12   able to give a ballpark?                                               12           Q. So I'm just trying to pin down at this deposition
13        A. For Bucket 1?                                                  13   what is sought by Mutual in the case. The bullet on the
14        Q. For Bucket 1.                                                  14   bottom of page 5 reads "Lost revenue and profits." Is it
15              MS. WALTER: Object to form.                                 15   Mutual's contention that it's entitled to both lost revenue
16        A. This is something the attorneys worked on, to be               16   and lost profits with respect to Bucket 1?
17   perfectly frank, you know. And I know, you know, it would              17           A. Yes.
18   not surprise me -- if it was just for a three-month period,            18           Q. Explain that.
19   it would not surprise me.                                              19           A. I just did. There's -- there's gross revenue.
20        Q. If it's less than $50,000?                                     20   That's, you know, cost of goods sold, and there's the
21        A. For a three-month --                                           21   profit.
22              MS. WALTER: Object --                                       22           Q. Okay. And your position is that Mutual should
23        A. -- period.                                                     23   collect both the revenue and the profits?
24        Q. Correct. What about for an 18-month period? Do                 24           A. Yes.
25   you have any sense as to what that number is?                          25           Q. Okay. Let's play this out so I understand. With
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                                                             30                                                                               32
 1              MS. WALTER: Object to form.                                  1   respect to a loan that closed, say the revenue -- and I'm
 2        A.    On Bucket 1 only?                                            2   just using hypothetical numbers. The revenue coming in to
 3        Q.    Bucket 1 only.                                               3   Mutual from that loan is a hundred grand. What would be the
 4        A.    No, I wouldn't know whether it was for 18 months.            4   profits approximately? Strike that.
 5        Q.    When you say this is something that the attorneys            5                Let me ask it a different -- assume the profits
 6   worked on, what do you mean?                                            6   -- when you take out all the costs, assume the profits are
 7              MS. WALTER: Object to form.                                  7   $20,000. Is it your position that Mutual is seeking both
 8        A. Well --                                                         8   the hundred-thousand-dollar revenue and the $20,000 profits
 9              MS. KREITER: What's the objection?                           9   for a total of 120-?
10              MS. WALTER: The objection is if it calls for a              10           A. Well, if you sell -- if you sell a loan for a
11        discussion with counsel, it's privileged.                         11   hundred thousand dollars, the revenue isn't a hundred
12              MS. KREITER: My question was what are the                   12   thousand dollars; right? It is -- the revenue of a
13        damages sought? And the witness testified it's                    13   hundred-thousand-dollar loan, generally speaking, at these
14        something the attorneys worked out.                               14   branches is going to be about $4,200 after commissions.
15        Q. Is that a correct statement of your position?                  15           Q. I'm concerned about double-dipping. Does that
16   You believe that the damages sought are something the                  16   make sense to you? And I'm trying to understand, are you
17   attorneys worked out with respect to Bucket 1?                         17   counting twice? So for example, are you counting a hundred
18        A. Yes.                                                           18   thousand dollars as the revenue and then also seeking
19        Q. What do you mean by that?                                      19   20,000 --
20              MS. WALTER: Object to form.                                 20           A. I said a hundred thousand dollars, not the
21        A. I don't know. I don't know what else I can mean                21   revenue. You said that was the loan amount.
22   by that.                                                               22           Q. No. Wait a minute. So sorry. Let's start
23        Q. Regardless, on behalf of Mutual, you're not                    23   again. Assume revenue from a loan -- I just picked that
24   prepared to testify today as to any particular number sought           24   number. I can pick a smaller number if that's --
25   with respect to Bucket 1; correct?                                     25           A. We're only seeking -- we're only seeking the
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